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I        4          and the investigation identified evidence of his relationship with the Russian         (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this             N/A
                 Ministry of Defense and highranking government officials                                                                                                        information pertain to and how would the
                                                                                                                                                                                 disclosure of this information interfere with such
                                                                                                                                                                                 proceeding?
                                                                                                           (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                               about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                               investigative focus and scope, and circumstances,
                                                                                                                               methods and fruits of investigative operations
I        4           to obtain photos that cast the United States in a negative light, such as “[v]acant   (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this             N/A
                 houses” with “broken windows,” “Indian children (dirtier and preferably in tattered                                                                             information pertain to and how would the
                 clothing),” “vagrants on main streets,” “the poor,” “stream of migrants,” “a photo of                                                                           disclosure of this information interfere with such
                 the border patrols,” and “if it works out, then gang members ”                                                                                                  proceeding?


                                                                                                           (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                               about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                               investigative focus and scope, and circumstances,
                                                                                                                               methods and fruits of investigative operations
I        14      Footnote 3: See, e g , 5/15/14 Email,     (attachment)                                    (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this             N/A
                                                                                                                                                                                 information pertain to and how would the
                                                                                                                                                                                 disclosure of this information interfere with such
                                                                                                                                                                                 proceeding?
                                                                                                           (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                               about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                               investigative focus and scope, and circumstances,
                                                                                                                               methods and fruits of investigative operations




I        14      Footnote 5:    see also Josh Milton Google Account (obtained pursuant to SW 17-mj- (b)(7)(A)                  Pending law enforcement proceedings                What law enforcement proceeding does this            N/A
                 826); Matt Skiber Facebook Account (obtained pursuant to SW 17-mj-651);                                                                                          information pertain to and how would the
                 @March_for_trump Twitter Account (obtained pursuant to SW 17-mj-828)                                                                                             disclosure of this information interfere with such
                                                                                                                                                                                  proceeding?




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                                      (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would   N/A
                                                          about techniques and procedures that would reveal the disclosure of this information reveal?
                                                          investigative focus and scope, and circumstances,
                                                          methods and fruits of investigative operations




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I        15      Footnote 10: See 11/5/13 Email,            (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                  information pertain to and how would the
                                                                                                                                  disclosure of this information interfere with such
                                                                                                                                  proceeding?
                                                            (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                investigative focus and scope, and circumstances,
                                                                                methods and fruits of investigative operations




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I        15-16   The IRA’s 2013 organizational structure included seven departments: finance, human     (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 resources, advertising, mass media analytics and monitoring, information technology,                                                                         information pertain to and how would the
                 search engine optimization, and information                                                                                                                  disclosure of this information interfere with such
                                                                                                                                                                              proceeding?
                                                                                                        (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                            about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                            investigative focus and scope, and circumstances,
                                                                                                                            methods and fruits of investigative operations




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I        16      By 2014, management oversaw eighteen departments: finance, human resources,           (b)(7)(A)           Pending law enforcement proceedings                What law enforcement proceeding does this            N/A
                 design and graphics, infographics, analytics, mass media monitoring, social networks,                                                                        information pertain to and how would the
                 information technology, search engine optimization, bloggers and commentators, mass                                                                          disclosure of this information interfere with such
                 media commentators, two “special department[s],” two night shifts, forums,                                                                                   proceeding?
                 LiveJournal (a social networking service), and a department focused on U S
                 operations (known as the “translator” department)
                                                                                                       (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                           about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                           investigative focus and scope, and circumstances,
                                                                                                                           methods and fruits of investigative operations
I        16      IRA documents show Burchik made staffing and personnel decisions; approved plans       (b)(7)(A)          Pending law enforcement proceedings               What law enforcement proceeding does this             N/A
                 for the IRA’s physical and electronic infrastructure; and received reports from                                                                             information pertain to and how would the
                 managers in the IRA’s departments, including the department responsible for U S                                                                             disclosure of this information interfere with such
                 operations Bystrov developed policy documents for the IRA, made administrative                                                                              proceeding?
                 decisions, and signed tax forms and corporate documents
                                                                                                        (b)(7)(E)-2        Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                           about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                           investigative focus and scope, and circumstances,
                                                                                                                           methods and fruits of investigative operations
I        16      A second entity, Internet Research, LLC, was incorporated in Russia on March 26,       (b)(7)(A)          Pending law enforcement proceedings               What law enforcement proceeding does this             N/A
                 2014, and the Internet Research Agency, LLC as a legal entity was dissolved, effective                                                                      information pertain to and how would the
                 June 30, 2014 During February 2015, two new entities, GlavSet, LLC, and MixInfo,                                                                            disclosure of this information interfere with such
                 LLC, were incorporated, followed by another entity, Azimuth, LLC, in July 2016                                                                              proceeding?
                 These corporate entities were used to pay employees (often through multiple other
                                                                                                        (b)(7)(E)-2        Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                           about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                           investigative focus and scope, and circumstances,
                                                                                                                           methods and fruits of investigative operations
I        16          the name of the St Petersburg neighborhood where the IRA first started Project  (b)(7)(A)             Pending law enforcement proceedings               What law enforcement proceeding does this             N/A
                 Lakhta operated a number of organizations designed to “carry out information                                                                                information pertain to and how would the
                 activity,” in the words of one internal IRA document In addition to U S operations,                                                                         disclosure of this information interfere with such
                 some Lakhta organizations undertook a number of media projects that appeared to                                                                             proceeding?
                 target “all-Russian” audiences, with names including “Federal News Agency,” “Nation
                 News,” and “Economy Today ”
                                                                                                        (b)(7)(E)-2        Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                           about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                           investigative focus and scope, and circumstances,
                                                                                                                           methods and fruits of investigative operations
I        16      Footnote 13: 4/10/14 Email,    (attachment)                                            (b)(7)(A)          Pending law enforcement proceedings               What law enforcement proceeding does this             N/A
                                                                                                                                                                             information pertain to and how would the
                                                                                                                                                                             disclosure of this information interfere with such
                                                                                                                                                                             proceeding?
                                                                                                        (b)(7)(E)-2        Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                           about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                           investigative focus and scope, and circumstances,
                                                                                                                           methods and fruits of investigative operations




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I        16      Footnote 15: See, e g , 5/7/14 Email,            (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                        information pertain to and how would the
                                                                                                                                        disclosure of this information interfere with such
                                                                                                                                        proceeding?
                                                                  (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                      about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                      investigative focus and scope, and circumstances,
                                                                                      methods and fruits of investigative operations




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I        16      Footnote 17: 4/22/15 Email,   (attachment)            (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                             information pertain to and how would the
                                                                                                                                             disclosure of this information interfere with such
                                                                                                                                             proceeding?
                                                                       (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                           about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                           investigative focus and scope, and circumstances,
                                                                                           methods and fruits of investigative operations




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I        17      Prigozhin has significant contacts to the Russian military and Russian Ministry of   (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 Defense For example, after                                                                                                                                 information pertain to and how would the
                                                                                                                                                                            disclosure of this information interfere with such
                                                                                                                                                                            proceeding?
                                                                                                      (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                          about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                          investigative focus and scope, and circumstances,
                                                                                                                          methods and fruits of investigative operations



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I        18      Footnote 26: 2/11/15 Email,   (email and attachment)             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                        information pertain to and how would the
                                                                                                                                                        disclosure of this information interfere with such
                                                                                                                                                        proceeding?
                                                                                  (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                      about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                      investigative focus and scope, and circumstances,
                                                                                                      methods and fruits of investigative operations




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I        18      Footnote 27: 4/8/15 Email,   (email and attachment)             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                       information pertain to and how would the
                                                                                                                                                       disclosure of this information interfere with such
                                                                                                                                                       proceeding?
                                                                                 (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                     about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                     investigative focus and scope, and circumstances,
                                                                                                     methods and fruits of investigative operations




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I        19      Similarly, in December 2016, IRA employees—again without revealing their true        (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 identities—convinced a U S activist from Charlotte, North Carolina, to pose with a                                                                         information pertain to and how would the
                 sign that read “Happy New Year, Brother Eugene!”                                                                                                           disclosure of this information interfere with such
                                                                                                                                                                            proceeding?
                                                                                                      (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                          about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                          investigative focus and scope, and circumstances,
                                                                                                                          methods and fruits of investigative operations




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I        19      Footnote 29: From 2014 through 2017, Aslanov headed the IRA’s Translator             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 Department                                                                                                                                                 information pertain to and how would the
                                                                                                                                                                            disclosure of this information interfere with such
                                                                                                                                                                            proceeding?
                                                                                                      (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                          about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                          investigative focus and scope, and circumstances,
                                                                                                                          methods and fruits of investigative operations
I        19      Footnote 32: 5/26/16 Facebook Messages, ID 173996283023459 (Black Matters) &         (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                  (Eugene is the English form of the Russian name Yevgeniy, Prigozhin’s first name)                                                                         information pertain to and how would the
                                                                                                                                                                            disclosure of this information interfere with such
                                                                                                                                                                            proceeding?
                                                                                                      (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                          about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                          investigative focus and scope, and circumstances,
                                                                                                                          methods and fruits of investigative operations
I        20      In 2014, employees within IRA’s management began to create and share internal IRA (b)(7)(A)              Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 documents (described as a “manual”) outlining the goals and strategies of its U S                                                                          information pertain to and how would the
                 operations The document, titled “Waging Information Warfare Against the United                                                                             disclosure of this information interfere with such
                 States,” presented the IRA’s operations as a counterbalance against U S foreign policy                                                                     proceeding?
                 and as “information war” by targeting U S and other foreign audiences through online
                 media In another internal document, U S operations were described as targeting the
                 U S audience with “demotivator” content that would undermine confidence in the
                 U S government and political system graphics and IT

                                                                                                      (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                          about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                          investigative focus and scope, and circumstances,
                                                                                                                          methods and fruits of investigative operations
I        20      Internal IRA Chart Outlining Structure (Translated from Russian)                     (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                                            information pertain to and how would the
                                                                                                                                                                            disclosure of this information interfere with such
                                                                                                                                                                            proceeding?



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                                                                                                        (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                            about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                            investigative focus and scope, and circumstances,
                                                                                                                            methods and fruits of investigative operations
I        20      Footnote 33: The Office recovered multiple chapters and editions of this manual,       (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 including pieces that had been translated into English and Spanish                                                                                           information pertain to and how would the
                                                                                                                                                                              disclosure of this information interfere with such
                                                                                                                                                                              proceeding?
                                                                                                        (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                            about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                            investigative focus and scope, and circumstances,
                                                                                                                            methods and fruits of investigative operations
I        20      Footnote 34:    (analyzing recovered IRA documents)                                    (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                                              information pertain to and how would the
                                                                                                                                                                              disclosure of this information interfere with such
                                                                                                                                                                              proceeding?
                                                                                                        (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                            about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                            investigative focus and scope, and circumstances,
                                                                                                                            methods and fruits of investigative operations
I        21      The manual and organizational charts show a structure that divided the operations into (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 different groups One version of the IRA manual included a diagram of the IRA’s                                                                               information pertain to and how would the
                 structure In general, these documents show a management team, a subordinate group                                                                            disclosure of this information interfere with such
                 of analysts and administrators, departments focused on different media platforms                                                                             proceeding?
                 (Facebook, Twitter, YouTube, etc ), and supporting graphics and IT departments An
                 additional group of IRA employees targeted U S audiences through Instagram
                 accounts
                                                                                                        (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                            about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                            investigative focus and scope, and circumstances,
                                                                                                                            methods and fruits of investigative operations
I        21      Another document, dated May 2014 and titled “General Strategy in Accordance with       (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 Basic Subject Matter,” included the following passage:                                                                                                       information pertain to and how would the
                 General premise: The next US elections are in 2016 Democrats – Hillary Clinton                                                                               disclosure of this information interfere with such
                 Republicans – there is no obvious favorite candidate                                                                                                         proceeding?
                 Goals: to spread distrust towards the candidates and the political system in general
                 1 Whom will the Hispanic vote support?
                 2 Lack of confidence in Clinton as the wife of Bill Clinton (past scandals, play on
                 personal life);
                 3 A fight to change the political system;
                 4 All the primaries are purchasable The oligarchs rule everything

                                                                                                        (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                            about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                            investigative focus and scope, and circumstances,
                                                                                                                            methods and fruits of investigative operations




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I        21      Footnote 35: 3/2/15 Email,   (attachment) (translated)             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                          information pertain to and how would the
                                                                                                                                                          disclosure of this information interfere with such
                                                                                                                                                          proceeding?
                                                                                    (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                        about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                        investigative focus and scope, and circumstances,
                                                                                                        methods and fruits of investigative operations




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I        21      Footnote 37: 5/15/14 Email,   (attachment)             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                              information pertain to and how would the
                                                                                                                                              disclosure of this information interfere with such
                                                                                                                                              proceeding?
                                                                        (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                            about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                            investigative focus and scope, and circumstances,
                                                                                            methods and fruits of investigative operations




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I        21      Footnote 38:    (documenting U S Department of Homeland Security and U S   (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 Department of State records)                                                                                                                     information pertain to and how would the
                                                                                                                                                                  disclosure of this information interfere with such
                                                                                                                                                                  proceeding?
                                                                                            (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                investigative focus and scope, and circumstances,
                                                                                                                methods and fruits of investigative operations




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I        22      For example, a September 2014 Excel file contained extensive notes about the IRA       (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 employees assigned to Facebook and Twitter operations, the employee accounts, the                                                                            information pertain to and how would the
                 number of posts made through the accounts and the target for each account, the size of                                                                       disclosure of this information interfere with such
                 the audiences, and other metrics                                                                                                                             proceeding?
                                                                                                        (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                            about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                            investigative focus and scope, and circumstances,
                                                                                                                            methods and fruits of investigative operations




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I        23      IRA employees also used Facebook’s audience tools to monitor the impact and            (b)(7)(A)          Pending law enforcement proceedings                What law enforcement proceeding does this            N/A
                 viewership of their accounts, including total number of page likes, total “[p]eople                                                                          information pertain to and how would the
                 reached” by individual posts, and engagement (comments, likes, sharing, and clicks on                                                                        disclosure of this information interfere with such
                 posts) Specialists monitored the viewership for every post on the IRA-controlled                                                                             proceeding?
                 accounts and reported these metrics to management in weekly reports, such as the
                 image below (which tracked the weekly engagement of one IRA-controlled Facebook
                 page for a one-week period in late 2015) These figures, in turn, were collected by IRA
                 management and presented during meetings with Prigozhin at Concord’s offices

                                                                                                       (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                           about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                           investigative focus and scope, and circumstances,
                                                                                                                           methods and fruits of investigative operations
I        23      Screenshot of Facebook Metrics Pertaining to IRA Account                              (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this             N/A
                                                                                                                                                                             information pertain to and how would the
                                                                                                                                                                             disclosure of this information interfere with such
                                                                                                                                                                             proceeding?


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                                                                                                        (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                            about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                            investigative focus and scope, and circumstances,
                                                                                                                            methods and fruits of investigative operations
I        23          one document contained         informing them that the “[t]heme of the week” was   (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 “US political life ” At the top, the document read,     The document provided                                                                                information pertain to and how would the
                 different talking points and considerations for the different social media accounts                                                                          disclosure of this information interfere with such
                 operated by the IRA, broken into the following categories: “Black Community,”                                                                                proceeding?
                 “Don’t Shoot,” “Patriotic,” “Texas,” “LGBT, “Muslims,” and “Refugees ”


                                                                                                        (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                            about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                            investigative focus and scope, and circumstances,
                                                                                                                            methods and fruits of investigative operations
I        23         a May      IRA document                                                             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                                              information pertain to and how would the
                                                                                                                                                                              disclosure of this information interfere with such
                                                                                                                                                                              proceeding?
                                                                                                        (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                            about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                            investigative focus and scope, and circumstances,
                                                                                                                            methods and fruits of investigative operations
I        23      Footnote 47: 5/9/16 Email,     (attachment)                                            (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                                              information pertain to and how would the
                                                                                                                                                                              disclosure of this information interfere with such
                                                                                                                                                                              proceeding?
                                                                                                        (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                            about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                            investigative focus and scope, and circumstances,
                                                                                                                            methods and fruits of investigative operations




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I        23      Footnote 48:    (analysis of IRA documents)                                         (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                                           information pertain to and how would the
                                                                                                                                                                           disclosure of this information interfere with such
                                                                                                                                                                           proceeding?
                                                                                                     (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                         about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                         investigative focus and scope, and circumstances,
                                                                                                                         methods and fruits of investigative operations
I        23      Footnote 49:     For example, in early 2015, employees from the U S desk (including (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 Aslanov) fabricated and published (on online adult video sites) a purported adult film                                                                    information pertain to and how would the
                 involving Clinton                                                                                                                                         disclosure of this information interfere with such
                                                                                                                                                                           proceeding?


                                                                                                     (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                         about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                         investigative focus and scope, and circumstances,
                                                                                                                         methods and fruits of investigative operations




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I        24      A March 2015 IRA manual describes how the Facebook operations folded into the           (b)(7)(A)          Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 larger aims of the IRA’s U S operations:                                                                                                                     information pertain to and how would the
                 The main goal of all types of our activities is destabilization of political life and                                                                        disclosure of this information interfere with such
                 provoking the social tensions with the US society This goal can be reached by the                                                                            proceeding?
                 means of:
                 1) Supporting the most radical part of Facebook users;
                 2) Supporting the political and social movements that are in opposition towards the
                 ruling regime;
                 3) Popularization of negative opinions among common users
                 We can practice all types of activities mentioned above, both creating our own profiles
                 and communities and being active in already existing communities

                                                                                                        (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                            about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                            investigative focus and scope, and circumstances,
                                                                                                                            methods and fruits of investigative operations




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I        24      Footnote 53: 3/2/15 Email,   (attachment) (translated)             (b)(7)(A)           Pending law enforcement proceedings   What law enforcement proceeding does this            N/A
                                                                                                                                              information pertain to and how would the
                                                                                                                                              disclosure of this information interfere with such
                                                                                                                                              proceeding?




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                                                                                    (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                        about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                        investigative focus and scope, and circumstances,
                                                                                                        methods and fruits of investigative operations




I        24      Footnote 54: 3/2/15 Email,   (attachment) (translated)             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                          information pertain to and how would the
                                                                                                                                                          disclosure of this information interfere with such
                                                                                                                                                          proceeding?
                                                                                    (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                        about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                        investigative focus and scope, and circumstances,
                                                                                                        methods and fruits of investigative operations




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I        26      One IRA manual described the role of Twitter operations as the “creation of political     (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 intensity through supporting radical groups, users dissatisfied with [the] social and                                                                           information pertain to and how would the
                 economic situation and oppositional social movements ”                                                                                                          disclosure of this information interfere with such
                                                                                                                                                                                 proceeding?
                                                                                                           (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                               about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                               investigative focus and scope, and circumstances,
                                                                                                                               methods and fruits of investigative operations
I        26         which they used to publish “different content and publish messages, communicate (b)(7)(A)                  Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 with real Twitter users in real time, and perform typical actions ”                                                                                             information pertain to and how would the
                                                                                                                                                                                 disclosure of this information interfere with such
                                                                                                                                                                                 proceeding?
                                                                                                           (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                               about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                               investigative focus and scope, and circumstances,
                                                                                                                               methods and fruits of investigative operations
I        26      According to the IRA’s manual, the goal when operating individualized accounts was        (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 to obtain “sufficient reaction of real users of Twitter, and also, if it is possible, a                                                                         information pertain to and how would the
                 reaction of mass media ” In another internal IRA document, the IRA explained the                                                                                disclosure of this information interfere with such
                 goal of these accounts was “interaction with target accounts (politicians, public                                                                               proceeding?
                 figures, public opinion leaders in the USA) ”



                                                                                                           (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                               about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                               investigative focus and scope, and circumstances,
                                                                                                                               methods and fruits of investigative operations




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I        26      Footnote 63: 3/2/15 Email,   (attachment) (translated)             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                          information pertain to and how would the
                                                                                                                                                          disclosure of this information interfere with such
                                                                                                                                                          proceeding?
                                                                                    (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                        about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                        investigative focus and scope, and circumstances,
                                                                                                        methods and fruits of investigative operations




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I        26      Footnote 64: 3/2/15 Email,   (attachment) (translated)             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                          information pertain to and how would the
                                                                                                                                                          disclosure of this information interfere with such
                                                                                                                                                          proceeding?
                                                                                    (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                        about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                        investigative focus and scope, and circumstances,
                                                                                                        methods and fruits of investigative operations




I        26      Footnote 65: 3/2/15 Email,   (attachment) (translated)             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                          information pertain to and how would the
                                                                                                                                                          disclosure of this information interfere with such
                                                                                                                                                          proceeding?
                                                                                    (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                        about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                        investigative focus and scope, and circumstances,
                                                                                                        methods and fruits of investigative operations




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I        27      Internal IRA documents show that the IRA monitored and analyzed the content posted (b)(7)(A)           Pending law enforcement proceedings                What law enforcement proceeding does this            N/A
                 to these accounts to ensure they appeared to be actual U S persons and properly                                                                           information pertain to and how would the
                 tailored to the U S election In one IRA document entitled “Content Analysis of                                                                            disclosure of this information interfere with such
                 Conservative Groups,” an IRA employee reviewed an IRA-controlled Twitter account                                                                          proceeding?
                 The review criticized certain posts, writing “[p]osts like this rather benefit Clinton
                 than our agenda ” The reviewer clarified: Clinton should be portrayed as a supporter of
                 illegal Latinos from poor countries of South America creeping across the US border,
                 gangsters from drug cartels of Latin America, American Muslim migrants The
                 emphasis should be made on the role of so-called “undocumented Democrats” in the
                 elections – there are millions of them and with their aid Clinton hopes to replicate
                 Obama’s success by getting more votes

                                                                                                    (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                        about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                        investigative focus and scope, and circumstances,
                                                                                                                        methods and fruits of investigative operations
I        27      Footnote 66: 4/10/14 Email,   (attachment)                                         (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this             N/A
                                                                                                                                                                          information pertain to and how would the
                                                                                                                                                                          disclosure of this information interfere with such
                                                                                                                                                                          proceeding?
                                                                                                    (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                        about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                        investigative focus and scope, and circumstances,
                                                                                                                        methods and fruits of investigative operations




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I        28      An IRA manual described the organization’s bot network and the activities needed to (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 maintain the network There is a botnet of accounts to work in American Twitter                                                                            information pertain to and how would the
                 which is under joint control of all bloggers [Twitter specialists] Botnet accounts are                                                                    disclosure of this information interfere with such
                 divided by gender and race due to differences in the subjects they publish Bloggers                                                                       proceeding?
                 use special software for posting messages and adding followers to maintain bot
                 network in proper condition The bot network is monitored and defects and
                 malfunction of particular accounts are eliminated on a daily basis There is a need to
                 create and register new bot accounts because of periodic loss of some accounts due to
                 bans from Twitter       To maintain the bot network in American part of Twitter there
                 is a need to specialize bot accounts to make them look more real According to the
                 IRA manual, it was the responsibility of all Twitter specialists to “participate in
                 supporting and socializing a bot network to control the accounts prepared for
                 automatization, and to prepare messages to get a hashtag to the top in relevant topics ”
                                                                                                     (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                         about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                         investigative focus and scope, and circumstances,
                                                                                                                         methods and fruits of investigative operations


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I        28      Footnote 77: 3/2/15 Email,   (attachment) (translated)             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                          information pertain to and how would the
                                                                                                                                                          disclosure of this information interfere with such
                                                                                                                                                          proceeding?
                                                                                    (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                        about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                        investigative focus and scope, and circumstances,
                                                                                                        methods and fruits of investigative operations




I        28      Footnote 78: 3/2/15 Email,   (attachment) (translated)             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                          information pertain to and how would the
                                                                                                                                                          disclosure of this information interfere with such
                                                                                                                                                          proceeding?
                                                                                    (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                        about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                        investigative focus and scope, and circumstances,
                                                                                                        methods and fruits of investigative operations




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I        29          through internal IRA documents that measured audience For example, IRA                   (b)(7)(A)          Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 documents from May 2016 (reproduced in part below) show a graphic of the United                                                                                   information pertain to and how would the
                 States, listing past and future rallies organized by the IRA, the size of the rally, and the                                                                      disclosure of this information interfere with such
                 names of any U S groups that had been recruited to assist or participate in the IRA-                                                                              proceeding?
                 organized rally
                                                                                                              (b)(7)(E)-2        Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                                 about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                                 investigative focus and scope, and circumstances,
                                                                                                                                 methods and fruits of investigative operations




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I        31      For example, the IRA’s manual contained an instruction on how to target influential     (b)(7)(A)           Pending law enforcement proceedings                What law enforcement proceeding does this            N/A
                 U S persons:                                                                                                                                                   information pertain to and how would the
                 You should pay special attention to working with public opinion influencers                                                                                    disclosure of this information interfere with such
                 Concentrate your efforts on communicating with them Attempt to establish a                                                                                     proceeding?
                 personal contact Turn to them with a request to support (distribute) a relevant topic
                 Do not pay attention to how it will be done Even if the public opinion influencer
                 simply shares your material, it will be an example of your success Any platform will
                 work for you, except for mass media

                                                                                                         (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                             about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                             investigative focus and scope, and circumstances,
                                                                                                                             methods and fruits of investigative operations
I        31         the private messaging functions of                                                   (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this             N/A
                                                                                                                                                                               information pertain to and how would the
                                                                                                                                                                               disclosure of this information interfere with such
                                                                                                                                                                               proceeding?
                                                                                                         (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                             about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                             investigative focus and scope, and circumstances,
                                                                                                                             methods and fruits of investigative operations




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I        31      Footnote 88: “Waging Information Warfare Against the United States,” supra, at 20   (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                                           information pertain to and how would the
                                                                                                                                                                           disclosure of this information interfere with such
                                                                                                                                                                           proceeding?
                                                                                                     (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                         about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                         investigative focus and scope, and circumstances,
                                                                                                                         methods and fruits of investigative operations




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I        32      Beginning in March 2016, the IRA’s budget (which was sent to Concord) began to       (b)(7)(A)           Pending law enforcement proceedings                What law enforcement proceeding does this            N/A
                 include an entry for payments for “activists ” Many of the IRA payments to U S                                                                              information pertain to and how would the
                 persons were made in connection with the U S rallies For example, the IRA paid one                                                                          disclosure of this information interfere with such
                 Florida woman over $1,000 to attend two pro-Trump rallies in Florida and New York                                                                           proceeding?
                 while dressed up as Clinton in a prison jumpsuit Similarly, the IRA paid an activist
                 over $1,000 in connection with staging multiple black social justice rallies in
                 November 2016 and December 2016 The IRA paid for other expenses, such as
                 buttons, signs, flyers, bullhorns, and other rally materials, as well as supplies to
                 construct a prop prison cell at one event
                                                                                                     (b)(7)(E)-2          Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                          about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                          investigative focus and scope, and circumstances,
                                                                                                                          methods and fruits of investigative operations
I        32      IRA records show that,     For example, one recovered IRA spreadsheet (reprinted in (b)(7)(A)            Pending law enforcement proceedings               What law enforcement proceeding does this             N/A
                 part below) contained the names of over 100 U S persons recruited through Instagram                                                                        information pertain to and how would the
                 The spreadsheet contained comments about the IRA-controlled account through which                                                                          disclosure of this information interfere with such
                 they had been recruited, what they had been tasked to do, and their contact                                                                                proceeding?
                                                                                                     (b)(7)(E)-2          Investigative techniques and procedures - details What investigative technique or procedure would       N/A
                                                                                                                          about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                          investigative focus and scope, and circumstances,
                                                                                                                          methods and fruits of investigative operations




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                                                                                                   (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                       about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                       investigative focus and scope, and circumstances,
                                                                                                                       methods and fruits of investigative operations
I        45      As discussed below, WikiLeaks appears to have responded later through different   (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 channels                                                                                                                                                information pertain to and how would the
                                                                                                                                                                         disclosure of this information interfere with such
                                                                                                                                                                         proceeding?


                                                                                                   (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                       about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                       investigative focus and scope, and circumstances,
                                                                                                                       methods and fruits of investigative operations




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I        47          (“:::: puyghbfr%78^543ijfd:::::”) that appears to be a possible password; it is   (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 unknown if another message or file was sent through a different communication                                                                               information pertain to and how would the
                 system                                                                                                                                                      disclosure of this information interfere with such
                                                                                                                                                                             proceeding?
                                                                                                       (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                           about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                           investigative focus and scope, and circumstances,
                                                                                                                           methods and fruits of investigative operations




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I        47      Footnote 171:   (analyzing metadata of stolen files on WikiLeaks site)    (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                                 information pertain to and how would the
                                                                                                                                                                 disclosure of this information interfere with such
                                                                                                                                                                 proceeding?
                                                                                           (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                               about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                               investigative focus and scope, and circumstances,
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I        50      Footnote 187:   see also U S Department of Homeland Security, Analysis Report   (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                 #AR-17-20045, “Enhanced Analysis of Grizzly Steppe Activity,” Feb 10, 2017                                                                            information pertain to and how would the
                 (summarizing analysis of malicious GRU cyber activity)                                                                                                disclosure of this information interfere with such
                                                                                                                                                                       proceeding?
                                                                                                 (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                                     about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                                     investigative focus and scope, and circumstances,
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I        51         VR Systems             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                 information pertain to and how would the
                                                                                                                 disclosure of this information interfere with such
                                                                                                                 proceeding?
                                           (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                               about techniques and procedures that would reveal the disclosure of this information reveal?
                                                               investigative focus and scope, and circumstances,
                                                               methods and fruits of investigative operations




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I        68      Footnote 298:   (obtained pursuant to SW 17-mj-688)             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                       information pertain to and how would the
                                                                                                                                                       disclosure of this information interfere with such
                                                                                                                                                       proceeding?
                                                                                 (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                     about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                     investigative focus and scope, and circumstances,
                                                                                                     methods and fruits of investigative operations




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I        88      Footnote 458:   (obtained pursuant to SW 17-mj-460)             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                       information pertain to and how would the
                                                                                                                                                       disclosure of this information interfere with such
                                                                                                                                                       proceeding?
                                                                                 (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                     about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                     investigative focus and scope, and circumstances,
                                                                                                     methods and fruits of investigative operations




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I        152     Footnote 1047:   (authorized pursuant to SW 18-sc-409)             (b)(7)(A)           Pending law enforcement proceedings               What law enforcement proceeding does this            N/A
                                                                                                                                                          information pertain to and how would the
                                                                                                                                                          disclosure of this information interfere with such
                                                                                                                                                          proceeding?
                                                                                    (b)(7)(E)-2         Investigative techniques and procedures - details What investigative technique or procedure would      N/A
                                                                                                        about techniques and procedures that would reveal the disclosure of this information reveal?
                                                                                                        investigative focus and scope, and circumstances,
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I        183     Footnote 1281: This Office referred other FARA investigations, and additional matters, (b)(7)(A)          Pending law enforcement proceedings   What law enforcement proceeding does this            N/A
                 to U S Attorney’s Offices and other components of the Department of Justice A                                                                   information pertain to and how would the
                 complete list of the Office’s referrals is reproduced as Appendix D, infra                                                                      disclosure of this information interfere with such
                                                                                                                                                                 proceeding?




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Appendix D D-2    Podesta Group, Mercury Clark & Weinstock, and Associated Employees                      (b)(7)(A)           Pending law enforcement proceedings   What law enforcement proceeding does this            N/A
                                                                                                                                                                    information pertain to and how would the
                                                                                                                                                                    disclosure of this information interfere with such
                                                                                                                                                                    proceeding?
Appendix D D-2    U S Attorney’s Office for the Southern District of New York                             (b)(7)(A)           Pending law enforcement proceedings   What law enforcement proceeding does this            N/A
                                                                                                                                                                    information pertain to and how would the
                                                                                                                                                                    disclosure of this information interfere with such
                                                                                                                                                                    proceeding?
Appendix D D-3    The Podesta Group and Mercury/Clark & Weinstock and associated employees                (b)(7)(A)           Pending law enforcement proceedings   What law enforcement proceeding does this            N/A
                  because they “may have been jointly involved [in Manafort’s] conduct ” See October                                                                information pertain to and how would the
                  20, 2017 Memorandum from Associate Deputy Attorney General Scott Schools to                                                                       disclosure of this information interfere with such
                  Deputy Attorney General Rod J Rosenstein                                                                                                          proceeding?
Appendix D D-3        FARA investigation,       jointly involved in Manafort’s conduct, including the     (b)(7)(A)           Pending law enforcement proceedings   What law enforcement proceeding does this            N/A
                  entities and persons identified in the October 20 memorandum, FTI Consulting, and                                                                 information pertain to and how would the
                  Greg Craig       Podesta and Mercury matters       to NSD      the decision was not                                                               disclosure of this information interfere with such
                  based on and does reflect any lack of merit as to any of those matters      NSD’s                                                                 proceeding?
                  request, the Southern District of New York
Appendix D D-3    Foreign campaign contribution                                                           (b)(7)(A)           Pending law enforcement proceedings   What law enforcement proceeding does this            N/A
                                                                                                                                                                    information pertain to and how would the
                                                                                                                                                                    disclosure of this information interfere with such
                                                                                                                                                                    proceeding?
Appendix D D-3    U S Attorney’s Office for the District of Columbia                                      (b)(7)(A)           Pending law enforcement proceedings   What law enforcement proceeding does this            N/A
                                                                                                                                                                    information pertain to and how would the
                                                                                                                                                                    disclosure of this information interfere with such
                                                                                                                                                                    proceeding?
Appendix D D-3    Footnote 2: Greg Craig and FTI Consulting were treated as outright referrals (and are   (b)(7)(A)           Pending law enforcement proceedings   What law enforcement proceeding does this            N/A
                  therefore listed in Part B, infra) because evidence about their conduct was uncovered                                                             information pertain to and how would the
                  in the course of our authorized investigations                                                                                                    disclosure of this information interfere with such
                                                                                                                                                                    proceeding?
Appendix D D-4       FTI Consulting;     FTI Consulting,     and FTI Consulting                           (b)(7)(A)           Pending law enforcement proceedings   What law enforcement proceeding does this            N/A
                                                                                                                                                                    information pertain to and how would the
                                                                                                                                                                    disclosure of this information interfere with such
                                                                                                                                                                    proceeding?


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Appendix D D-5     Left Hand Enterprises - During the course of the investigation, the Special Counsel’s   (b)(7)(A)           Pending law enforcement proceedings   What law enforcement proceeding does this            N/A
                   Office uncovered evidence of potential wire fraud and FECA violations pertaining to                                                               information pertain to and how would the
                   Trump Campaign vendor Left Hand Enterprises That evidence was referred to the                                                                     disclosure of this information interfere with such
                   Public Integrity Section within DOJ’s Criminal Division and the FBI’s Washington                                                                  proceeding?
                   Field Office
Appendix D D-5     Rebuilding America Now - During the course of the investigation, the Special          (b)(7)(A)             Pending law enforcement proceedings   What law enforcement proceeding does this            N/A
                   Counsel’s Office uncovered evidence of potential FECA violations and potential                                                                    information pertain to and how would the
                   kickback schemes pertaining to the Rebuilding America Now PAC That evidence was                                                                   disclosure of this information interfere with such
                   referred to the Public Integrity Section within DOJ’s Criminal Division and the FBI’s                                                             proceeding?
                   Washington Field Office




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